Case 2:24-cv-00089-Z         Document 38         Filed 05/15/24    Page 1 of 4      PageID 688



                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION

 STATE OF TEXAS, et al.                          §
     Plaintiﬀs,                                  §
 v.                                              §
                                                 §      CIVIL ACTION NO. 2:24-CV-00089-Z
 BUREAU OF ALCOHOL, TOBACCO,                     §
 FIREARMS AND EXPLOSIVES, et al.,                §
                                                 §
     Defendants.

 PLAINTIFFS’ MOTION FOR LEAVE TO EXCEED THE PAGE LIMIT FOR THEIR
  REPLY IN SUPPORT FOR THEIR MOTION FOR TEMPORARY RESTRAINING
                 AND/OR PRELIMINARY INJUNCTION

       Plaintiffs respectfully request permission for their Motion for Preliminary Injunction

and/or Temporary Restraining Order to exceed the page limit by 14 pages, making the combined

filing 24 pages. Plaintiffs’ reply responds to Defendants’ opposition, which involves complex

issues in a case of national importance, and Plaintiffs require these extra pages to adequately

respond. They seek this enlargement for good cause and in the interest of justice. Defendants have

not indicated whether they oppose this motion.
Case 2:24-cv-00089-Z        Document 38      Filed 05/15/24    Page 2 of 4   PageID 689



Date: May 15, 2024                           Respectfully submitted.

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Case 2:24-cv-00089-Z          Document 38   Filed 05/15/24   Page 3 of 4   PageID 690



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Case 2:24-cv-00089-Z         Document 38       Filed 05/15/24        Page 4 of 4   PageID 691



                                          Certificate of Conference

    On May 15, 2024, I emailed all opposing counsel of record, but as of this filing they have not

stated whether or not they are opposed.

                                             /s/ Garrett Greene
                                             Garrett Greene

                                            Certificate of Service

    On May 15, 2024, this document was filed electronically through the Court’s CM/ECF

system, which automatically serves all counsel of record.



                                             /s/ Garrett Greene
                                             Garrett Greene
